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  1                      UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
  2                             TAMPA DIVISION
                         CASE NO. 8:17-cv-1578-T-27MAP
  3
         RICHARD COLON, on behalf of
  4      Himself and all others
         Similarly situated,
  5                Plaintiff,
         v.
  6      SE INDEPENDENT DELIVERY
         SERVICES INC.,
  7                Defendant.
  8
                  VIDEOTAPED DEPOSITION OF RICHARD COLON
  9                                      Orlando, FL
                                         November 3, 2017
10       The videotaped deposition of Richard Colon was
         convened on Friday, November 3, 2017, commencing at
11       9:15 a.m., at the offices of Christopher L. Turner,
         1305 East Robinson, Orlando, Florida, before Paula
12       G. Satkin, Registered Professional Reporter and
         Notary Public.
13       Job No. 2743354
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  1      happened with the refusal that's listed there in
  2      your January 8th deliveries?              Why do you think
  3      that's any different situation?
  4            A     Because I monitored it.                 I started
  5      monitoring my settlement sheets.                   So I take pictures
  6      of my manifest and I write down next to it,
  7      "exchange complete," wait for the settlement check
  8      to come and then I look down my breakdowns and
  9      notice that I got just $9 for it.
10             Q     So you think that on your second day
11       delivering, January 8, 2013?
12             A     Yes.
13             Q     That you compared your -- is it your
14       manifest?
15             A     No.     It wasn't on this particular day.
16             Q     So on this particular day -- all I want to
17       talk is about this refusal that happened on
18       January 8, 2013.
19             A     Okay.
20             Q     Why do you say that had anything to do
21       with an exchange?
22             A     Well, to really understand -- this
23       paperwork right here doesn't really explain much.
24       Now, if we had the manifest for that day with the
25       information on it, customer information and

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  1      everything, I could really break it down better.
  2      Then I'll know what happened that day.              This
  3      particular paperwork doesn't explain much.
  4            Q      So just looking at that refusal on
  5      January 8, 2013, you don't know if that was some
  6      kind of a refused exchange or simply a delivery that
  7      was refused; correct?
  8            A      To really understand that particular day
  9      and that refusal I would need the proper paperwork
10       to see it.
11             Q      You would need to compare a manifest with
12       that code entry?
13             A      Yes.   The final manifest for that day.
14             Q      And you would have to do that for every
15       entry in these four years of billing statements that
16       said refusal; wouldn't you?
17             A      Yes.   I need to separate them.           I need to
18       have customer signature so I can compare it with the
19       manifest and the signature to see if those were
20       completed or not.
21             Q      So what you would propose to do?              You
22       would go back, you would take the manifest for
23       January 8, 2013, and you would look for this
24       delivery here?
25             A      Yes.

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  1            Q     And you would look to see whether it was
  2      simply a refused delivery or whether it was an
  3      exchange with refusal?
  4            A     Yeah.    I would be able to break it down
  5      much easier.
  6            Q     You would have to go entry by entry;
  7      right?
  8            A     Yes.    I have a spreadsheet.          I don't have
  9      to go through this.        I have a spreadsheet where I
10       could go to the date things when happened, make it
11       easier for me.
12             Q     And what kind of spreadsheet are you
13       talking about?
14             A     A spreadsheet that I developed.
15             Q     You developed from these billing reports?
16             A     Yes, sir.
17             Q     So somehow you converted all these billing
18       reports into a spreadsheet?
19             A     Yes, sir.
20             Q     And if you wanted to find out what another
21       driver was allegedly owed for one of these refusals,
22       you would have to get his or her manifest and do the
23       same comparison process; right?
24             A     Yes.
25             Q     Line by line?

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  1            A     Yes.
  2            Q     Now, if you look at this refusal on the
  3      manifest and it's just a refused delivery, no
  4      exchange involved, just a refused delivery, the
  5      compensation should be zero; right?
  6            A     Yes, sir.
  7            Q     So you were overpaid by $9 if that was the
  8      case?
  9            A     Once we see the manifest we can determine
10       what kind of refusal it was that particular day.
11             Q     Go up a few entries.              See the exchange we
12       talked about, still on January 8th?
13             A     Yes.
14             Q     Do you see the item number?
15             A     On January 8th?
16             Q     The first line of January 8th entry where
17       it says exchange?
18             A     Yes.
19             Q     You see an item number?
20             A     Yes.
21             Q     You see the last two letters of that item
22       number, EX?
23             A     Yes.
24             Q     Isn't that how an exchange is flagged on
25       these billing reports?

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  1      be accurate.          The refusals, when I further received
  2      documentation then I can really pinpoint
  3      everything -- then I could verify everything.
  4            Q        I'm not sure I'm following you.             So maybe
  5      let's take a concrete example.                  Can you open up and
  6      let's look at that page from Defendant's Exhibit 3
  7      we've looked at a bunch of times, the one that's
  8      stamped 002 at the bottom?
  9            A        Okay.
10             Q        This is your first few days of delivering
11       for SEIDS?
12             A        Yes.
13             Q        So I see at the top left-hand corner of
14       this page I see a statement date of January 16th,
15       2013.       Do you see that?
16             A        Yes.
17             Q        And that's the date you wrote in the first
18       block of the first column on your damages
19       calculation?
20             A        Yes.
21             Q        So that's a statement date, not
22       necessarily the date of the refusal?
23             A        1/16.     No.   That's an error.
24             Q        I'm not sure it is.            Let me ask you this.
25             A        I don't think I worked the 16th.

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